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EXHIBIT B TO DECLARATION OF MICHAEL SCHRAG AND
                  RICHARD PAUL
 SUPPLEMENTAL SETTLEMENT LITIGATION EXPENSES



            Date                Source Name               Amount
          11/30/20          Thomson Reuters                    45.48
          02/28/21          Thomson Reuters                    23.75
          03/25/21          Thomson Reuters                    53.07
          04/30/21          Thomson Reuters                   128.82
          05/31/21          Thomson Reuters                     7.68
          06/30/21          Thomson Reuters                    43.11
          07/31/21          Thomson Reuters                    15.85
      12/31/20-4/30/21      Copies                             25.74
       5/31-8/31/2021       Copies                             15.33
       9/30-11/30/2021      Copies                             13.79
         11/15/2021         LexisNexis-Accurint               775.04
         11/30/2021         LexisNexis-Accurint               127.76
         11/30/2020         Westlaw                            12.51
         01/31/2021         Westlaw                            40.47
         02/28/2021         Westlaw                             6.14
         06/30/2021         Westlaw                             7.96
         10/31/2021         Westlaw                             3.91
         11/30/2021         Westlaw                            76.47
         11/30/2021         LexisNexis-Accurint                60.40
                                                            1,483.28
